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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


 NATIONAL ASSOCIATION OF SOCIAL
 WORKERS, et al.,

                Plaintiffs,
                                                          Case No. 1:22-cv-258
         v.

 CITY OF LEBANON, OHIO, et al.,

                Defendants.


                                 DECLARATION OF ALICE DOE

       I, Alice Doe, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury that the

following is true and correct:

       1.      I am over the age of 18. I make these statements based on my personal

knowledge.

       2.      My real name is not Alice Doe. I am filing this declaration pseudonymously to

protect my privacy and personal safety. I am aware that abortion is a highly controversial issue

and I am concerned that if my name becomes public, I will be targeted with hostility and

harassment that would interfere with my private life as well as my professional practice.

       3.      I am a Licensed Independent Social Worker with Supervision Designation

(LISW-S) in Ohio, and a member of the National Association of Social Workers. I received my

Bachelor of Social Work and Master of Social Science Administration degrees from universities

in Ohio in the 1970s. I have worked as a clinical social worker in private practice since then. In




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particular, I have been practicing in Ohio for several decades, and I maintain an active license

with the Ohio Counselor, Social Worker and Marriage and Family Therapist Board.

       4.      I currently have my own solo practice where I serve clients ranging in age from

adolescence through adulthood. As a clinical social worker, I assess, diagnose, and treat mental

and behavioral health conditions. I provide therapy to individuals, couples, and families

experiencing a broad range of challenges. I currently offer both in-person services and telehealth

services.

       5.      As part of my practice, I occasionally provide services to residents of Lebanon,

Ohio. I would estimate that I typically see around 3-6 clients from Lebanon each year. I usually

know where my clients live due to information that the client provides during the intake process.

When I provide teletherapy, I typically know where my client is located during our session.

       6.      My services occasionally involve education and emotional support related to

pregnancy and reproductive health, including discussion of abortion. If a pregnant client is

unsure whether she wants to continue her pregnancy, I typically refer her to Planned Parenthood

in Cincinnati to learn more about her options. I will also explore the circumstances of the

pregnancy with the client, and assist her in her independent decision-making process by talking

through her options and providing emotional support. Throughout my years of practice, the

topics of pregnancy and abortion have come up with a broad range of clients facing an array of

different circumstances. Sometimes these issues arise with established clients, including married

and single women, college students, and other adults. Other times, new clients are referred to me

by their OB/GYN or family practitioner for a variety of reasons, including decisional support

after receiving a diagnosis of a fetal anomaly.



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       7.       I recently became aware of an ordinance enacted by the City of Lebanon that

purports to prohibit abortion and efforts to aid or abet abortion. I am concerned that the

ordinance could be read to encompass the services I provide.

       8.       I do not know how certain legal concepts that are mentioned in the ordinance, like

the First Amendment, undue burden, or third-party standing, might apply to my services.

       9.       I am therefore afraid that I will be subject to prosecution under the ordinance. If

prosecuted, in addition to criminal penalties, I risk losing my license to practice, and/or potential

clients and job opportunities.

       10.      I am also worried that any actions I could take to mitigate the risk of prosecution

would harm my clients, which I find to be unconscionable. Telling a client who is facing a

pregnancy decision that I cannot provide her with support around this issue would compromise

the client’s wellbeing. Moreover, it would cause significant injury to the social worker-client

relationship, impairing my ability to provide effective therapeutic interventions around other

issues as well. My relationships with my clients are founded on trust, and telling my clients that I

could not advise them about a particular issue would harm the very foundation of our

relationship.

       11.      I remain committed to providing comprehensive counseling on matters of

pregnancy and reproductive health. I believe that it is my ethical obligation as a social worker to

support my clients’ ability and autonomy to make the decisions that are best for them and in

living safe, healthy, and fulfilling lives. The ordinance therefore forces me to make a difficult

choice between following my ethical obligations and avoiding the risk of prosecution.




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          I declare under penalty of perjury that the foregoing is true and correct.

          Dated: May 9, 2022


                                                 /s/ Alice Doe
                                                 ___________________________
                                                 Alice Doe




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